1    PHILLIP A. TALBERT
     United States Attorney
 2   JOSEPH D. BARTON
     HENRY Z. CARBAJAL III
 3   Assistant United States Attorneys
     2500 Tulare Street, Suite 4401
 4   Fresno, CA 93721
     Telephone: (559) 497-4000
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     Attorneys for Plaintiff
 6   United States of America
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 8                               IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        ) CASE NO. 1:24-CR-00159-NODJ-BAM
                                                      )
12                                 Plaintiff,         )
                                                      ) APPLICATION AND ORDER FOR MONEY
13                         v.                         ) JUDGMENT
                                                      )
14   IRMA OLGUIN, JR. and                             )
     JAKE SOBERAL,                                    )
15                                                    )
                                   Defendants.        )
16                                                    )
17          On July 17, 2024, defendants Iram Olguin, Jr. and Jake Soberal entered a guilty plea to Count
18   One – Conspiracy to Commit Wire Fraud in violation of 18 U.S.C. § 1349, and Count Two – Wire
19   Fraud in violation of 18 U.S.C. § 1343 of the Information.
20          As part of their plea agreements with the United States, defendants Irma Olguin, Jr. and Jake
21   Soberal agreed to forfeit voluntarily and immediately $115,000,000.00, as a personal money judgment
22   pursuant to Fed. R. Crim. P. 32.2(b)(1), which reflects a reasonable compromise between the parties for
23   forfeiture purposes concerning the proceeds the defendants obtained as a result of violations of 18
24   U.S.C. §§ 1349 and 1343, to which they have pled guilty. See Defendant Olguin, Jr. and Soberal’s Plea
25   Agreements ¶ II.F. Plaintiff hereby applies for entry of a money judgment as follows:
26          1.      Pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(2)(A), 28 U.S.C. § 2461(c), and Fed. R.
27   Crim. P. 32.2(b)(1), the Court shall impose a personal forfeiture money judgment against defendants
28   Irma Olguin, Jr. and Jake Soberal in the amount of $115,000,000.00.
1           2.      The above-referenced personal forfeiture money judgment is imposed based on
2    defendants’ conviction for violating 18 U.S.C. § 1349 (Count One) and 18 U.S.C. § 1343 (Count Two).
3    Said amount reflects a reasonable compromise between the parties for forfeiture purposes concerning
4    the proceeds the defendants obtained, which the defendants agree is subject to forfeiture based on the
5    offenses of conviction. Any funds applied towards such judgment shall be forfeited to the United States
6    of America and disposed of as provided for by law.
7           3.      Payment of the personal forfeiture money judgment should be made in the form of a
8    cashier’s check made payable to the U.S. Marshals Service, and sent to the U.S. Attorney’s Office, Attn:
9    Asset Forfeiture Unit, 2500 Tulare Street, Suite 4401, Fresno, CA 93721. Prior to the imposition of
10   sentence, any funds delivered to the United States to satisfy the personal money judgment shall be
11   seized and held by the U.S. Marshals Service, in its secure custody and control.
12   DATED: December 16, 2024                             PHILLIP A. TALBERT
                                                          United States Attorney
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14                                                         /s/ Joseph D. Barton
                                                          JOSEPH D. BARTON
15                                                        Assistant U.S. Attorney
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17
                                                    ORDER
18

19          For good cause shown, the Court hereby imposes a personal forfeiture money judgment against
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     defendants Irma Olguin, Jr. and Jake Soberal in the amount of $114,600,000.00. Any funds applied
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     towards such judgment shall be forfeited to the United States of America and disposed of as provided
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     for by law. Prior to the imposition of sentence, any funds delivered to the United States to satisfy the
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24   personal money judgment shall be seized and held by the U.S. Marshals Service, in its secure custody

25   and control.

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27   //
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     IT IS SO ORDERED.
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2    DATED this 17th day of December 2024.
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                                             A
                                             John C. Coughenour
                                             UNITED STATES DISTRICT JUDGE
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